 Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 1 of 11                        PageID #: 1




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

DEBORAH LAUFER, Individually,            :
                                         :
             Plaintiffs,                 :
                                         :
v.                                       :              Case No.
                                         :
THE INN AT ST. JOHN, Maine Business      :
Corporation,                             :
                                         :
             Defendant.                  :
_______________________________________/ :
                                         :
                                         :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, THE

INN AT ST. JOHN, Maine Business Corporation, (sometimes referred to as “Defendant”), for

Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Florida, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Instead, Plaintiff

               is bound to ambulate in a wheelchair or with a cane or other support and has limited

               use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

               operate. Plaintiff is also vision impaired. When ambulating beyond the comfort of her

               own home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible

               handicap parking spaces located closet to the entrances of a facility. The handicap
 Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 2 of 11                   PageID #: 2




           and access aisles must be of sufficient width so that she can embark and disembark

           from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

           goods and services of a facility must be level, properly sloped, sufficiently wide and

           without cracks, holes or other hazards that can pose a danger of tipping, catching

           wheels or falling. These areas must be free of obstructions or unsecured carpeting

           that make passage either more difficult or impossible. Amenities must be sufficiently

           lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

           sink faucets, or other operating mechanisms that tight grasping, twisting of the wrist

           or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

           danger of scraping or burning her legs. Sinks must be at the proper height so that she

           can put her legs underneath to wash her hands. She requires grab bars both behind

           and beside a commode so that she can safely transfer and she has difficulty reaching

           the flush control if it is on the wrong side. She has difficulty getting through

           doorways if they lack the proper clearance.

2.         Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

           "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

           determining whether places of public accommodation and their websites are in

           compliance with the ADA.

3.         According to the county property records, Defendant owns a place of public

           accommodation as defined by the ADA and the regulations implementing the ADA,

           28 CFR 36.201(a) and 36.104. The place of public accommodation that the

           Defendant owns is a place of lodging known as The Inn at St. John, 939 Congress


                                             2
 Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 3 of 11                    PageID #: 3




           Street, Portland, ME 04102, and is located in the County of Cumberland, (hereinafter

           "Property").

4.         Venue is properly located in this District because the subject property is located in

           this district.

5.         Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

           original jurisdiction over actions which arise from the Defendant’s violations of Title

           III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

           U.S.C. § 2201 and § 2202.

6.         As the owner of the subject place of lodging, Defendant is required to comply with

           the ADA. As such, Defendant is required to ensure that it's place of lodging is in

           compliance with the standards applicable to places of public accommodation, as set

           forth in the regulations promulgated by the Department Of Justice. Said regulations

           are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

           Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

           by reference into the ADA. These regulations impose requirements pertaining to

           places of public accommodation, including places of lodging, to ensure that they are

           accessible to disabled individuals.

7.         More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

           requirement:

           Reservations made by places of lodging. A public accommodation that owns,
           leases (or leases to), or operates a place of lodging shall, with respect to
           reservations made by any means, including by telephone, in-person, or through a
           third party -



                                             3
 Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 4 of 11                   PageID #: 4




                  (i) Modify its policies, practices, or procedures to ensure that individuals
                  with disabilities can make reservations for accessible guest rooms during
                  the same hours and in the same manner as individuals who do not need
                  accessible rooms;
                  (ii) Identify and describe accessible features in the hotels and guest rooms
                  offered through its reservations service in enough detail to reasonably
                  permit individuals with disabilities to assess independently whether a
                  given hotel or guest room meets his or her accessibility needs;
                  (iii) Ensure that accessible guest rooms are held for use by individuals
                  with disabilities until all other guest rooms of that type have been rented
                  and the accessible room requested is the only remaining room of that type;
                  (iv) Reserve, upon request, accessible guest rooms or specific types of
                  guest rooms and ensure that the guest rooms requested are blocked and
                  removed from all reservations systems; and
                  (v) Guarantee that the specific accessible guest room reserved through its
                  reservations service is held for the reserving customer, regardless of
                  whether a specific room is held in response to reservations made by others.

8.         These regulations became effective March 15, 2012.

9.         Defendant, either itself or by and through a third party, accepts reservations for its

           hotel online through one or more websites. The purpose of these websites is so that

           members of the public may reserve guest accommodations and review information

           pertaining to the goods, services, features, facilities, benefits, advantages, and

           accommodations of the Property. As such, these websites are subject to the

           requirements of 28 C.F.R. Section 36.302(e).

10.        Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

           purpose of reviewing and assessing the accessible features at the Property and

           ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her

           accessibility needs. However, Plaintiff was unable to do so because Defendant failed

           to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result,

           Plaintiff was deprived the same goods, services, features, facilities, benefits,


                                             4
Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 5 of 11                   PageID #: 5




          advantages, and accommodations of the Property available to the general public.

          Specifically, (a) the hotel’s online reservations service operating through

          www.innatstjohn.com failed to identify accessible rooms, failed to provide an option

          for booking an accessible room, and did not provide sufficient information as to

          whether the rooms or features at the hotel are accessible; (b) the hotel’s online

          reservations service operating through www.innsatstjohn.client.innroad.com failed

          to identify accessible rooms, failed to provide an option for booking an accessible

          room, and did not provide sufficient information as to whether the rooms or features

          at the hotel are accessible; (c) the hotel’s online reservations service operating

          through www.expedia.com failed to identify accessible rooms, failed to provide an

          option for booking an accessible room, and did not provide sufficient information as

          to whether the rooms or features at the hotel are accessible; (d) the hotel’s online

          reservations service operating through www.hotels.com failed to identify accessible

          rooms, failed to provide an option for booking an accessible room, and did not

          provide sufficient information as to whether the rooms or features at the hotel are

          accessible; (e) the hotel’s online reservations service operating through

          www.booking.com failed to identify accessible rooms, failed to provide an option for

          booking an accessible room, and did not provide sufficient information as to whether

          the rooms or features at the hotel are accessible; (f) the hotel’s online reservations

          service operating through www.orbitz.com failed to identify accessible rooms, failed

          to provide an option for booking an accessible room, and did not provide sufficient

          information as to whether the rooms or features at the hotel are accessible; (g) the


                                            5
 Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 6 of 11                      PageID #: 6




           hotel’s online reservations service operating through www.priceline.com failed to

           identify accessible rooms, failed to provide an option for booking an accessible room,

           and did not provide sufficient information as to whether the rooms or features at the

           hotel are accessible; (h) the hotel’s online reservations service operating through

           www.agoda.com failed to identify accessible rooms, failed to provide an option for

           booking an accessible room, and did not provide sufficient information as to whether

           the rooms or features at the hotel are accessible; (i) the hotel’s online reservations

           service operating through www.trip.com failed to identify accessible rooms, failed

           to provide an option for booking an accessible room, and did not provide sufficient

           information as to whether the rooms or features at the hotel are accessible.

11.        In the near future, Plaintiff intends to revisit Defendant's online reservations system

           in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this respect,

           Plaintiff maintains a system to ensure that she revisits the online reservations system

           of every hotel she sues. By this system, Plaintiff maintains a list of all hotels she has

           sued with several columns following each. She continually updates this list by,

           among other things, entering the dates she did visit and plans to again visit the hotel's

           online reservations system. With respect to each hotel, she visits the online

           reservations system multiple times prior to the complaint being filed, then visits

           again shortly after the complaint is filed. Once a judgment is obtained or settlement

           agreement reached, she records the date by which the hotel's online reservations

           system must be compliant and revisits when that date arrives.




                                              6
 Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 7 of 11                       PageID #: 7




12.        Plaintiff is continuously aware that the subject websites remain non-compliant and

           that it would be a futile gesture to revisit the websites as long as those violations exist

           unless she is willing to suffer additional discrimination.

13.        The violations present at Defendant's websites infringe Plaintiff's right to travel free

           of discrimination and deprive her of the information required to make meaningful

           choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

           humiliation as the result of the discriminatory conditions present at Defendant's

           website. By continuing to operate the websites with discriminatory conditions,

           Defendant contributes to Plaintiff's sense of isolation and segregation and deprives

           Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges

           and/or accommodations available to the general public. By encountering the

           discriminatory conditions at Defendant's website, and knowing that it would be a

           futile gesture to return to the websitesunless she is willing to endure additional

           discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

           services and benefits readily available to the general public. By maintaining a

           websiteswith violations, Defendant deprives Plaintiff the equality of opportunity

           offered to the general public. Defendant's online reservations system serves as a

           gateway to its hotel. Because this online reservations system discriminates against

           Plaintiff, it is thereby more difficult to book a room at the hotel or make an informed

           decision as to whether the facilities at the hotel are accessible.

14.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

           of the Defendant’s discrimination until the Defendant is compelled to modify its


                                               7
 Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 8 of 11                   PageID #: 8




           websitesto comply with the requirements of the ADA and to continually monitor and

           ensure that the subject websitesremains in compliance.

15.        Plaintiff has a realistic, credible, existing and continuing threat of discrimination

           from the Defendant’s non-compliance with the ADA with respect to these websites.

           Plaintiff has reasonable grounds to believe that she will continue to be subjected to

           discrimination in violation of the ADA by the Defendant.

16.        The Defendant has discriminated against the Plaintiff by denying her access to, and

           full and equal enjoyment of, the goods, services, facilities, privileges, advantages

           and/or accommodations of the subject website.

17.        The Plaintiff and all others similarly situated will continue to suffer such

           discrimination, injury and damage without the immediate relief provided by the ADA

           as requested herein.

18.        Defendant has discriminated against the Plaintiff by denying her access to full and

           equal enjoyment of the goods, services, facilities, privileges, advantages and/or

           accommodations of its place of public accommodation or commercial facility in

           violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

           Defendant continues to discriminate against the Plaintiff, and all those similarly

           situated by failing to make reasonable modifications in policies, practices or

           procedures, when such modifications are necessary to afford all offered goods,

           services, facilities, privileges, advantages or accommodations to individuals with

           disabilities; and by failing to take such efforts that may be necessary to ensure that

           no individual with a disability is excluded, denied services, segregated or otherwise


                                             8
 Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 9 of 11                      PageID #: 9




             treated differently than other individuals because of the absence of auxiliary aids and

             services.

19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205

             and 28 CFR 36.505.

20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

             Injunctive Relief, including an order to require the Defendant to alter the subject

             websites to make them readily accessible and useable to the Plaintiff and all other

             persons with disabilities as defined by the ADAand 28 C.F.R. Section 36.302(e); or

             by closing the websitesuntil such time as the Defendant cures its violations of the

             ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its websitesto

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the websitesto ensure that it remains in compliance with said requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.




                                               9
Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 10 of 11                                                                     PageID #: 10




           d.          Such other relief as the Court deems just and proper, and/or is allowable under

                       Title III of the Americans with Disabilities Act.

                       Respectfully Submitted,


                                                                        _/s/ Daniel G. Ruggiero__
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                                                                       275 Grove Street, Suite 2-400
                                                                       Newton, MA 02466
                                                                       druggieroesq@gmail.com
                                                                       (339) 237-0343


___________________________________________________________________________________________________________________________________________________________
Case 2:20-cv-00346-GZS Document 1 Filed 09/24/20 Page 11 of 11                 PageID #: 11




                         AUTHORIZATION TO INITIATE
                       COMPLAINT FOR INJUNCTIVE RELIEF
                               UNDER THE ADA


1.    Authorization is hereby given to Thomas B. Bacon, P.A. to initiate a complaint on my
      behalf against the following defendant:

      THE INN AT ST. JOHN dba The Inn at St. John, 939 Congress Street, Portland, ME
      04102 and its online reservations system.

2.    For the case involving the above mentioned defendant, the “Standard ADA Fee
      Agreement” and the “Standard ADA Statement of Client’s Rights”, shall establish the
      rights and obligations of the client and the attorneys.

3.    I have read the draft of the Complaint prepared by Thomas B. Bacon, P.A., and I agree
      with its contents. I have visited and reviewed the subject websitesand encountered
      barriers to access which discriminated against my on the basis of my disability as
      described in the complaint.


________________________________                          9.10.20
                                                         ____________________
DEBORAH LAUFER                                                  Date

Re:   Deborah Laufer v. The Inn at St. John, 939 Congress Street, Portland, ME Our File 1548-
      ME
